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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION



CARLTON WRIGHT               *
                   PLAINTIFF *
                             *
V.                           *
                             *                  CASE NO. 4:18CV00938 SWW
                             *
UNION PACIFIC RAILROAD       *
COMPANY                      *
                 DEFENDANT *



                                     ORDER


      On March 22, 2021, Plaintiff Carlton Wright filed a second amended

complaint [ECF No. 56] without leave of Court, contrary to Rule 15(a) of the

Federal Rules of Civil Procedure.1 IT IS THEREFORE ORDERED that the

second amended complaint [ECF No. 56] is, for all practical purposes, STRICKEN




      1
       Rule 15(a)(1)(A) provides that a party may amend its pleading once as a
matter of course within 21 days after service. After that 21-day period, however, a
party may amend his or her pleading only with the opposing party’s written
consent or leave of court. Fed. R. Civ. P. 15(a)(2).

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from the record, without prejudice to Plaintiff filing a motion to amend that

complies with Rule 15(a)(2) and Local Rule 5.5(e).2

      IT IS SO ORDERED THIS 23RD DAY OF MARCH, 2021.

                                              /s/Susan Webber Wright
                                              UNITED STATES DISTRICT JUDGE




      2
        The Local Rules for the Eastern District of Arkansas are available on the
Court’s website: www.ared.uscourts.gov. Local Rule 5(e) provides:

      A party who moves to amend a pleading shall attach a copy of the
      amendment to the motion. The motion must contain a concise statement
      setting out what exactly is being amended in the new pleading – e.g.
      added defendant X, adding a claim for X, corrected spelling. Any
      amendment to a pleading, whether filed as a matter of course or upon a
      motion to amend, must, except by leave of Court, reproduce the entire
      pleading as amended, and may not incorporate any prior pleading by
      reference. The party amending shall file the original of the amended
      pleading within seven (7) days of the entry of the order granting leave
      to amend unless otherwise ordered.

                                          2
